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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

                                                    )
 UNITED STATES OF AMERICA,                          )
                                                    )
                                                    )
                        v.                          ) Case No. 1:21-cr-92
                                                    )
 COUY GRIFFIN,                                      ) Judge Trevor N. McFadden
                                                    )
        Defendant.                                  )
                                                    )

  DEFENDANT GRIFFIN’S SECOND NOTICE OF INFORMATION INCORRECTLY
              STATED DURING HEARING ON JUNE 30, 2021

       Defendant Griffin, through his counsel, files this second notice to correct counsel’s

misstatement during the oral hearing on June 30, 2021 concerning Griffin’s motion to dismiss

the Amended Information.

       In the hearing, the Court drew a distinction between the hundreds of protestors arrested

during the confirmation hearings of Justice Kavanaugh and the January 6 protestors. The Court

suggested that the government might not have charged the former category of protestors who

intruded into Congress under 18 U.S.C. § 1752 because, unlike on January 6, Secret Service

protectees were not present during the Justice’s confirmation hearings. Counsel responded that

the Court was probably right.

       As Griffin indicated in a notice filed shortly before this one, Vice President Mike Pence

was present during the disorder and disruption of Congress caused by protestors invading the

Capitol Building in the middle of the Justice’s confirmation hearings. Kavanaugh is sworn in

after close confirmation vote in Senate, N.Y. Times, Oct. 6, 2019, available at:

https://www.nytimes.com/2018/10/06/us/politics/brett-kavanaugh-supreme-court.html. Griffin

files this second notice to show the Court that, as many press reports indicated at the time,

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hundreds of protestors “broke through Capitol Police barricades” before “storming” the Capitol

Building during the Justice Kavanaugh confirmation hearings, when Vice President Mike Pence,

a Secret Service protectee was present. Kavanaugh protestors ignore Capitol barricades ahead

of Saturday vote, Roll Call, Oct. 6, 2018, available at:

https://www.rollcall.com/2018/10/06/kavanaugh-protesters-ignore-capitol-barricades-ahead-of-

saturday-vote/. Pictures of the Justice Kavanaugh protestors on the Capitol steps are widely

available. One shows protestors standing in the “restricted area” the government alleges Griffin

“illegally entered”:




Roll Call, Oct. 6, 2018.

       As mentioned during the hearing on June 30, none of these protestors was charged with

an offense under § 1752, notwithstanding the Vice President’s presence and notwithstanding the

protestors’ “storming” of Capitol Police barricades. That is not because the government had

misconstrued § 1752 until January 7.



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Dated: June 30, 2021                Respectfully submitted,

                                    DAVID B. SMITH, PLLC


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                                    Attorneys for Couy Griffin




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                                     Certificate of Service
       I hereby certify that on the 30th day of June, 2021, I filed the foregoing notice with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

the following CM/ECF user(s):

              JANANI IYENGAR
              Assistant United States Attorney
              555 4th Street, N.W., Room 4408
              Washington, D.C. 20530
              (202) 252-7846

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


                                                    /s/ David B. Smith
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                                                    Appointed by the Court




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